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6

7
                                     UNITED STATES DISTRICT COURT
8
                                  NORTHERN DISTRICT OF CALIFORNIA
9
                                        SAN FRANCISCO DIVISION
10

11   UNITED STATES OF AMERICA,                      )   No. CR-05-00284-SI
                                                    )
12                  Plaintiff,                      )   STIPULATION AND [PROPOSED] ORDER
                                                    )   TO CONTINUE SENTENCING TO
13          Vs.                                     )   SEPTEMBER 29, 2006
                                                    )
14   AKRAM SABAR CHAUDHRY, et al.                   )
                                                    )
15                  Defendants.                     )
                                                    )
16                                                  )
                                                    )
17

18          Defendant Akram Sabar Chaudhry, by and through his attorney, Steven F. Gruel,
19   Esquire, respectfully requests and stipulates that sentencing scheduled for September 8, 2006 at
20   11:00 a.m. be rescheduled to September 29, 2006 at 11:00 a.m. This request is predicated on
21   the fact that the defense, after a Meet and Confer with the government and probation officer
22   regarding the draft presentence report (PSR), requires additional time to review several sections
23   of the PSR.
24

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26
     STIPULATION AND [PROPOSED] ORDER
     TO CONTINUE SENTENCING
     TO SEPTEMBER 29, 2006
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1        The government does not oppose and stipulates to this defense request for a continuance to
2
     September 29, 2006 at 11:00 a.m. The United States Probation officer assigned to this case is
3
     aware of and does not oppose this request for a continuance of the sentencing hearing.
4
     SO STIPULATED:
5
     DATED: 9/1/06
6

7                                  __/s/ __    ______
                                  STEVEN F. GRUEL,
8
                                  Attorney for Defendant Chaudhry
9

10
                                   __/s/_____________________
11   DATED: 9/1/06                 BLAKE S. STAMM
                                   Assistant United States Attorney
12

13

14                                [PROPOSED] ORDER
15       PREDICATED on the above stipulation and GOOD CAUSE APPEARING,
16   the Court hereby continues this matter to September 29, 2006 at 11:00 a.m. for sentencing.
17

18   IT IS SO ORDERED.
                                   ________________________
19
                                   SUSAN ILLSTON
20                                 U.S. District Court Judge

21

22

23

24

25

26
     STIPULATION AND [PROPOSED] ORDER
     TO CONTINUE SENTENCING
     TO SEPTEMBER 29, 2006
                                                   - 2
